
In re Disciplinary Counsel; — Other; Applying for Petition for Immediate Interim Suspension for Threat of Harm Pursuant to Rule XIX, Sec. 19.2.
ORDER
Considering the record of these matters,
IT IS ORDERED that respondent, David M. Dickson, Louisiana Bar Roll number 13815, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that the matter bearing this court’s docket number 05-B-1384 be remanded to the disciplinary board for consolidation with the proceedings numbered 05-DB-036. After appropriate consideration of the consolidated matters, the board is directed to issue a single recommendation of discipline to this *1130court encompassing all disciplinary matters involving respondent.
/s/ Catherine D. Kimball
Justice, Supreme Court of Louisiana
